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 Name and address:
                        Kathleen A. Zugsay
                  Califomi,1. State Bar No. ;325196
                   Email: kzugsay@milmlaw.com
                MALONE FROST MARTIN PLLC
      8750 N. Central Expressway, Suite 1850, Dallas, TX 75231

                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA

                                                                              CASE NUMBER
 PATRICIA R. VALLEJO
                                                          Plaintiff(s),                                    2:l 9-cv-03000

                  Y.

                                                                                APPLICATION OF NON-RESIDENT ATTORNEY
 CLIENT SERVICES, INC.                                                                TO APPEAR IN A SPECIFIC CASE
                                                        Defendant(s),                        PROHACVlCE
INSTRUCTIONS FOR APPLICANTS
 ( l) The attorney seeking to appear pro hac vice must complete Section 1 ofthis Application, personally sign, in ink, the certification In
      Section II, and have the designated Local Counsel sign in Section Ill. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
      supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the fost 30
      days) from every state bar to which he 01· she is admitted; failure to do so will be grounds for denying the Application. Scan the
      completed Application with its original ink signature, together with any attachment(s), to a single Pottable Document Format (PDF) file.
 (2) Have the designated Local Counsel.file the Application electronically using the Court's CM!ECF System ("Motions and Related Filings
      => Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)"), attach a Proposed Order (using
      Form G-64 ORDER, available from the Court's website), and pay the required $400 fee onli ne at the time offiling (using a credit card).
      The fee is requiredfor each case in which the applicant files an Application, Failure to pay the fee at the time offiling will be grounds for
      denying the Application. Out-of-state federal government attorneys al'e ttot required to pay the $400 fee. (Certain attorneys for the
      United States are also exemptfro111 the requirement ofapplyingfor pro hac vice status. See L.R. 83-2. IA.) A copy of the G-64 ORDER in
      Word or WordPe1fect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Eugene Xerxes Martin,_ N
Applicant's Name (Last Name, First Name & Middle Initial)                                              check here iffederal government attorney □
Malone Frost Martin PLLC
Fil'fn/Agency Name
8750 N. Central Expressway, Suite 1850                                    214-346-2630                               214-346-2622
                                                                          Telephone Numbe1·                          Fax Number
Street Address
Dallas, TX 75231                                                                                    xmartin@mamlaw.com
 City, State, Zip Code                                                                                   E-rnail Address

I have been retained to represent the following parties:
Client Services, Inc.                                                     D Plaintiff(s) 00 Defendt:mt(s) 0          Other:
                                                                                                                              ---------
                                                                          □   Plaintiff(s)   D   Defe11dant(s)   0   Other:
                                                                                                                              ---------
Name(s) ofParty(ies) Represented
List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status_ of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                           Date ofAdmission              Active Member in Good Standing? {if not, please explain)
Please see attached




G-64 (ll/18)               APPLICATION OF NON-RI!SlDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                Page 1 of3
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 List all cases in which the applicant has applied to this Court for pm hac l'ice st~tus in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Title o{Action                             Date ofApplication        Granted I Denied?
 None




If any pro hac \lice applications submitted within the past three (3) years have been denied by the Court, please explah'l:
  NIA




Has the applicant previously registered as a CM/ECF user in the Central District of California?           IR] Yes       0     No
If yes, was the applicant's CM/ECF User account associated with the e-mail address provided above? IR] Yes              0     No

                                                                                                   xmartin@rnamlaw.com
                                                                                              Previous E-mail Used (if applicable)

Attomeys must be registered for the Court's Case .Management/Electronic Case Filing ("CM!ECF") System to be admitted to practice pro hac
vie': in this Cowt. Submission ofthis Application will constitute your registration (or re-registration) as a CM/ECF User. If the Cowt signs an
Order granting your Application, you will either be issued a new C1vf/ECF login and password, or the existing account you identified above
will be associated with yow case.


           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial business,
                professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
                and the Federal Rules of Evidence,
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
               maintains an office in the Central District of California for the practice oflaw, as local counsel pursuant to Local
                Rule 83-2.1.3.4.

               Dated 9/25/2019
                                                                      Applicf'1 ';                  e or print)
                                                                               /




G-64 {11/18)               APPLlCA'flON OF NON-Rl!SIDENT ATIORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                           Page 2of3
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SECTION III - DESIGNATION OF LOCAL COUNSEL
 Kathleen A. Zugsay
 Designee's Name (Last Name, First Name & Middle Initial)
 Malone Frost Martin PLLC
 Firm/Agency Name
 8750 N. Central Expressway, Suite 1850                           214-346-2630                          214-346-2631
                                                                  Telephone Number                      Fax Number
 Street Address                                                   kzugsay@mamlaw.com
 Dallas, TX 75231                                                 E-mail Address

 City, State, Zip Code                                            325196
                                                                  De.signee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law.
              Dated 9/25/2019




SECTION IV - SUPPLEMENT ANSWERS HERE {ATTACH ADDITIONAL PAGES IF NECESSARY)

  NIA.




G-64 (H/IB)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                        Page3of3
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  Patricia R. Vallejo v. Client Services, Inc., No. 2:19-cv-03000 (C.D. Cal.)



  COURTS TO WHICH APPLICANT IS ADMITTED

  State of Texas, 11/4/2011, Active;
  Fifth Circuit Court of Appeals, 9/23/2015, Active;
  Seventh Circuit Court of Appeals, 3/28/2019, Active;
  US District Court Northern District of Texas, 1/18/2012, Active;
  US District Court Eastern District of Texas, 2/3/2012, Active;
  US District Court Western District of Texas, 8/20/2012, Active;
  US District Court Southern District of Texas, 4/13/2012, Active;
  US District Court of Colorado, 1/27/2014, Active;
  US District Court Eastern District of Michigan, 10/4/2017, Active;
  US District Court Western District of Michigan, 12/28/2017, Active;
  US District Court Northern District of Illinois, 2/16/2018, Active;
  US District Court Eastern District of Wisconsin, 6/13/2018, Active;
  US District Court Eastern District of Arkansas, 6/10/2019, Active;
  US District Court Western District of Arkansas, 6/10/19, Active


  PRIOR RECORD OF DISCIPLINE

  None



  APPLICANT INFORMATION

  Name of Applicant: Eugene Xerxes Martin, IV
  Firm Address: Malone Fro~t Martin PLLC
  8750 N. Central Expressway, Suite 1850
  Dallas, TX 75231-6454
  Office Phone: (214 )346-2630
  Direct Phone: (214)346-2628
  Fax Phone: (214 )346-2631
  Email Address: xrnartin@rnarnlaw .corn
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                  STATE BAR OF TEXAS



  Office of the Chief Disciplinary Counsel

  September 25, 2019



  Re: Mr. Eugene Xerxes Martin IV, State Bar Number 24078928


  To Whom It May Concern:

  This is to certify that Mr. Eugene Xerxes Martin IV was licensed to practice law in Texas on
  November 04, 2011, and is an active member in good standing with the State Bar of Texas. "Good
  standing" means that the attorney is current on payment of Bar dues; has met Minimum Continuing
  Legal Education requirements; and is not presently under either administrative or disciplinary
  suspension from the practice of law.


  This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
  operation of rule or law.


  Sincerely,




  Seana Willing
  Chief Disciplinary Counsel
  SW/web




    P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
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 1                                 CERTIFICATE OF SERVICE
 2
            I am a resident of the State of Texas, over the age of eighteen years, and not a party
 3    to the within action. My business address is Malone Frost Martin PLLC, NorthPark
 4    Central, Suite 1850, 8750 North Central Expressway Dallas, Texas 75231. On October 8,
      2019, I served the following document(s) by the method indicated below:
 5
      Application of Non-Resident Attorney, Xerxes Martin, to Appear in a Specific Case
 6
                  Pro Hae Vice on behalf of Defendant Client Services, Inc.
 7
              By Certified Mail, Return Receipt Requested
 8
        X     By using the CM/ECF System
 9
              By Email
10
11
        Eric D Coleman                              Nicholas M Wajda
12
        Sulaiman Law Group Ltd                      Wajda Law Group APC
13      2500 South Highland Avenue Suite 200        11400 West Olympic Boulevard Ste 200M
        Lombard, IL 60148                           Los Angeles, CA 90064
14
        630-575-8181                                310-997-0471
15      Fax: 630-575-8188                           Fax: 866-286-8433
        Email: ecoleman sulaimanlaw.com                                      .com
16
17
            I declare under penalty of perjury under the laws of the United States of America
18
     that the above is true and correct. Executed on October 8, 2019, at Dallas County, Texas.
19
20
                                                   /s/ Tara Stevenson
21                                                 Tara Stevenson
22
23
24
25
26
27
28
